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                     6
                         Attorney for Debtors
                     7   ANTHONY THOMAS and WENDI
                         THOMAS and AT EMERALD, LLC
                     8
                     9                                    UNITED STATES BANKRUPTCY COURT
                 10                                                      DISTRICT OF NEVADA
                 11                                                                 —ooOoo—
                 12      In Re:                                                                Case No. BK-N-14-50331-BTB
                                                                                               Case No. BK-N-14-50333-BTB
                 13      AT EMERALD, LLC,
                                                                                               Chapter 11 Cases
                 14
                         ANTHONY THOMAS and                                                    [Joint Administration - PENDING]
                 15      WENDI THOMAS,
                                                                                               NOTICE OF HEARING ON MOTION
                 16                                                                            FOR JOINT ADMINISTRATION
                 17                                                                            Hearing Date: May 7, 2014
                                    Debtors,                                                   Hearing Time: 10:00 a.m.
                 18      ______________________________/
                 19                NOTICE IS HEREBY GIVEN that on March 25, 2012, AT EMERALD, LLC filed
                 20      its Motion For Joint Administration (“Motion”) by electronic filing with the United States
                 21      Bankruptcy Court, District of Nevada. The Motion requests an order directing the joint
                 22      administration of the AT Emerald, LLC, Chapter 11 case, Case No. 14-50331, with the
                 23      Chapter 11 case of Anthony Thomas and Wendi Thomas, Case No. 14-50333.
                 24                NOTICE IS FURTHER GIVEN that any opposing memoranda to the Motion must
                 25      be filed pursuant to Fed.R.Bankr.P. 9006(f) for notice provided by electronic transmission
                 26      and Local Rule 9014(d)(1).
                 27                ...[A]ny opposition to a motion must be filed, and service of the opposition
                                   must be completed on the movant, no later than fourteen (14) days preceding
                 28                the hearing date for the motion. The opposition must set forth all relevant
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                     1             facts and any relevant legal authority. An opposition must be supported by
                                   affidavits or declarations that conform to the provisions of subsection (c) of
                     2             this rule.
                     3
                                      If you object to the relief requested, you must file a WRITTEN response to this
                     4                pleading with the court. You must also serve your written response on the
                                      person who sent you this notice.
                     5
                     6                If you do not file a written response with the court, or if you do not serve your
                                      written response on the person who sent you this notice, then:
                     7                        •       The court may refuse to allow you to speak at the scheduled
                                      hearing; and
                     8
                                              •       The court may rule against you without formally calling the
                     9                matter at the hearing.

                 10
                 11      Copies of the Motion may be obtained by written request from the Law Offices of Alan R.
                 12      Smith at the address above or may be obtained directly from the Bankruptcy Court’s website
                 13      at www.nvb.uscourts.gov (requires the establishment of a PACER account) or from the
                 14      United States Bankruptcy Court Clerk’s Office at 300 Booth Street, Reno, Nevada 89509,
                 15      during the office hours of 9:00 a.m. to 3:30 p.m. weekdays.
                 16                NOTICE IS FURTHER GIVEN that the hearing on the said Motion will be held
                 17      before a United States Bankruptcy Judge, in the Clifton Young Federal Building, 300 Booth
                 18      Street, Bankruptcy Courtroom, Fifth Floor, Reno, Nevada on May 7, 2014, at 10:00 a.m.
                 19                DATED this 25th day of March, 2014.
                 20                                                                     LAW OFFICES OF ALAN R. SMITH
                 21                                                                     By:     /s/ Alan R. Smith
                                                                                          ALAN R. SMITH, ESQ.
                 22                                                                       Attorney for Debtor
                                                                                          AT EMERALD, LLC
                 23
                 24
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